                       United States District Court
                For The Western District of North Carolina
                           Charlotte Division

Burton A. Gellman, and
The Gellman Corporation,

             Plaintiff(s),                     JUDGMENT IN A CIVIL CASE

vs.                                            3:04-cv-234-GCM

The Cincinnati Insurance Company,

             Defendant(s).



DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s March 17, 2009 Opinion.




                                           Signed: March 17, 2009




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